   Case 4:19-cr-00488 Document 53-1 Filed on 12/23/19 in TXSD Page 1 of 1




                  UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

UNITED STATES OF AMERICA              §
                                      §
versus                                §       CASE NO. 4:19-CR-00488
                                      §
MARIBEL SANTANA-CERANO                §


                                     ORDER



     On__________________________, 2019, the Considered Defendant, MARIBEL

SANTANA CERANO’s Unopposed Motion for Continuance¸ and the Court hereby

ORDERS that said Motion is hereby;


                        GRANTED / DENIED



     SIGNED on __________________________,



                                                  __________________________,
                                                  JUDGE PRESIDING




                                          1
